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          MOSHIE SOLOMON
          LAW OFFICES OF MOSHIE SOLOMON, P.C.
          ONE UNIVERSITY PLAZA,
          SUITE 412
          HACKENSACK, NJ 07601


        Re:   JANE JIN                                                    Atty: MOSHIE SOLOMON
              410 BRIARWOOD LANE                                                LAW OFFICES OF MOSHIE SOLOMON, P.C.
              NORTHVALE, NJ 07647                                               ONE UNIVERSITY PLAZA,
                                                                                SUITE 412
                                                                                HACKENSACK, NJ 07601




                             IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF NEW JERSEY

                   TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS AS OF 1/14/2022
                                             Chapter 13 Case # 17-20822

NOTE: THIS IS A BASE PLAN IN THE AMOUNT OF $44,400.00

                                        RECEIPTS AS OF 01/14/2022                            (Please Read Across)

 Date             Amount        Source Document No.          Date              Amount         Source Document No.
 06/02/2017        $740.00      4011048000   -               07/05/2017         $740.00      4098928000     -
 08/04/2017        $740.00      4183093000   -               09/07/2017         $740.00      4266719000     -
 10/05/2017        $740.00      4341643000   -               11/06/2017         $740.00      4424219000     -
 12/05/2017        $740.00      4496199000   -               01/08/2018         $740.00      4575287000     -
 02/05/2018        $740.00      4651048000   -               03/05/2018         $740.00      4730374000     -
 04/05/2018        $740.00      4811172000                   05/07/2018         $740.00      4892401000
 06/05/2018        $740.00      4970270000                   07/06/2018         $740.00      5051204000
 08/07/2018        $740.00      5134782000                   09/05/2018         $740.00      5208988000
 10/04/2018        $740.00      5287996000                   11/05/2018         $740.00      5371841000
 12/04/2018        $740.00      5443403000                   01/04/2019         $740.00      5518255000
 03/07/2019        $740.00      5684966000                   04/08/2019         $740.00      5764719000
 05/07/2019        $740.00      5843800000                   06/06/2019         $740.00      5920308000
 07/03/2019        $740.00      5990392000                   08/07/2019         $740.00      6076634000
 09/06/2019        $740.00      6156038000                   11/05/2019         $740.00      6311981000
 11/06/2019        $740.00      6311983000                   12/09/2019         $740.00      6388802000
 01/08/2020        $740.00      6463836000                   02/05/2020         $740.00      6538141000
 03/06/2020        $740.00      6619679000                   04/07/2020         $740.00      6696160000
 05/06/2020        $740.00      6773221000                   06/05/2020         $740.00      6846125000
 07/06/2020        $740.00      6918986000                   08/24/2020         $740.00      7029316000
 09/08/2020        $740.00      7070616000                   10/13/2020         $740.00      7154956000
 11/06/2020        $740.00      7215688000                   12/07/2020         $740.00      7285866000
 01/04/2021        $740.00      7353678000                   02/05/2021         $740.00      7431860000
 03/05/2021        $740.00      7503470000                   04/05/2021         $740.00      7579971000
 05/05/2021        $740.00      7650567000                   06/03/2021         $740.00      7715736000
 07/06/2021        $740.00      7788038000                   08/04/2021         $740.00      7854735000
 09/03/2021        $740.00      7923232000                   10/06/2021         $740.00      7995549000
 11/05/2021        $740.00      8064333000                   12/06/2021         $740.00      8125830000


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  Date             Amount           Source Document No.          Date            Amount           Source Document No.
  01/04/2022        $740.00         8187033000

Total Receipts: $40,700.00 - Amount Refunded to Debtor: $0.00 = Receipts Applied to Plan: $40,700.00

                             LIST OF PAYMENTS TO CLAIMS AS OF 01/14/2022                         (Please Read Across)

 Claimant Name          Date         Amount           Check #                          Date            Amount           Check #
  BANK OF AMERICA NA
                    10/16/2017          $48.41         789,070
  DEPARTMENT STORE NATIONAL BANK
                   05/14/2018           $17.40         801,582                      09/17/2018             $6.41        809,323
                   01/14/2019            $6.40         816,974
  DEPARTMENT STORES NATIONAL BANK
                   06/17/2019             $6.39        827,529                      10/21/2019             $6.50        835,395
                   02/10/2020             $6.39        843,153                      06/15/2020             $6.23        850,586
                   10/19/2020             $6.23        857,950                      02/22/2021             $6.23        865,043
                   06/21/2021             $6.25        872,283                      10/18/2021             $6.34        879,271
  PNC BANK NATIONAL ASSOCIATION
                    05/14/2018        $5,111.02        802,593                      05/14/2018         $2,504.58        802,593
                    06/18/2018          $468.04        804,521                      06/18/2018           $229.38        804,521
                    07/16/2018          $229.38        806,474                      07/16/2018           $468.08        806,474
                    08/20/2018          $229.37        808,418                      08/20/2018           $468.07        808,418
                    09/17/2018          $479.95        810,361                      09/17/2018           $235.19        810,361
                    10/22/2018          $235.19        812,305                      10/22/2018           $479.95        812,305
                    11/19/2018          $228.73        814,229                      11/19/2018           $466.51        814,229
                    12/17/2018          $466.69        816,123                      12/17/2018           $228.54        816,123
                    01/14/2019          $228.65        818,056                      01/14/2019           $466.59        818,056
                    02/11/2019          $466.59        819,959                      02/11/2019           $228.65        819,959
                    04/15/2019          $228.64        823,960                      04/15/2019           $466.58        823,960
                    05/20/2019          $228.65        825,972                      05/20/2019           $466.60        825,972
                    06/17/2019          $474.99        827,935                      06/17/2019           $232.77        827,935
                    07/15/2019          $474.98        829,796                      07/15/2019           $232.79        829,796
                    08/19/2019          $475.00        831,810                      08/19/2019           $232.77        831,810
                    09/16/2019          $232.77        833,805                      09/16/2019           $475.00        833,805
                    10/21/2019          $487.37        835,852                      10/21/2019           $238.83        835,852
                    12/16/2019          $938.12        839,819                      12/16/2019           $459.71        839,819
                    01/13/2020          $469.07        841,706                      01/13/2020           $229.86        841,706
                    02/10/2020          $469.07        843,577                      02/10/2020           $229.86        843,577
                    02/12/2020         ($469.07)       841,706                      02/12/2020          ($229.86)       841,706
                    02/12/2020          $229.86        844,232                      02/12/2020           $469.07        844,232
                    03/16/2020          $469.06        845,505                      03/16/2020           $229.86        845,505
                    04/20/2020          $469.06        847,448                      04/20/2020           $229.86        847,448
                    05/18/2020          $445.31        849,274                      05/18/2020           $218.22        849,274
                    06/15/2020          $445.31        850,960                      06/15/2020           $218.22        850,960
                    07/20/2020          $457.68        852,792                      07/20/2020           $224.29        852,792
                    08/17/2020          $457.68        854,641                      08/17/2020           $224.28        854,641
                    10/19/2020          $915.37        858,341                      10/19/2020           $448.57        858,341
                    11/16/2020          $457.68        860,123                      11/16/2020           $224.28        860,123
                    12/21/2020          $457.68        861,970                      12/21/2020           $224.28        861,970
                    01/11/2021          $457.69        863,682                      01/11/2021           $224.29        863,682
                    02/22/2021          $457.68        865,485                      02/22/2021           $224.28        865,485
                    03/15/2021          $457.68        867,226                      03/15/2021           $224.28        867,226
                    04/19/2021          $457.68        869,009                      04/19/2021           $224.28        869,009
                    04/19/2021         ($457.68)       869,009                      04/19/2021          ($224.28)       869,009
                    04/19/2021          $457.68        869,691                      04/19/2021           $224.28        869,691
                    05/17/2021          $457.68        870,872                      05/17/2021           $224.28        870,872
                    06/21/2021          $465.11        872,687                      06/21/2021           $227.92        872,687
                    07/19/2021          $465.10        874,443                      07/19/2021           $227.92        874,443
                    08/16/2021          $465.10        876,151                      08/16/2021           $227.92        876,151


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 Claimant Name              Date            Amount         Check #                                 Date             Amount           Check #
                          09/20/2021          $465.11        877,913                            09/20/2021          $227.92          877,913
                          10/18/2021          $465.10        879,652                            10/18/2021          $227.92          879,652
                          11/17/2021          $470.05        881,354                            11/17/2021          $230.34          881,354
                          12/13/2021          $470.06        882,984                            12/13/2021          $230.35          882,984
                          01/10/2022          $470.05        884,637                            01/10/2022          $230.34          884,637
  VERIZON
                          05/14/2018           $10.89        803,160                            10/22/2018             $5.07         812,877
                          05/20/2019            $5.98        826,581                            10/21/2019             $5.10         836,457
                          03/16/2020            $5.01        846,041                            10/19/2020             $6.80         858,858
                          04/19/2021            $5.88        869,553                            10/18/2021             $5.93         880,144

                                                CLAIMS AND DISTRIBUTIONS
                                                                                  Allowed     Percent to                         Unpaid
 Claim #                Claimant Name                         Class                Claim       be Paid          Paid             Balance *
   TTE      TRUSTEE COMPENSATION                         ADMIN                                                    2,353.94     TBD
  ATTY      ATTORNEY (S) FEES                            ADMIN                   0.00           100.00%               0.00               0.00
 COURT      CLERK OF COURT                               ADMIN                   0.00           100.00%               0.00               0.00
   0001     BANK OF AMERICA NA                           MORTGAGE ARREARS IN DEFAULT
                                                                                48.41           100.00%              48.41
   0003     CHASE CARD                                   UNSECURED               0.00              *                  0.00
   0005     CITICARDS CBNA                               UNSECURED               0.00              *                  0.00
   0006     COSTCO GO ANYWHERE CITICARD                  UNSECURED               0.00              *                  0.00
   0009     PNC BANK NATIONAL ASSOCIATION                UNSECURED          45,925.76              *             25,137.19
   0015     CHASE CARD                                   UNSECURED               0.00              *                  0.00
   0016     CHASE CARD                                   UNSECURED               0.00              *                  0.00
   0017     CHASE CARD                                   UNSECURED               0.00              *                  0.00
   0018     PNC BANK NATIONAL ASSOCIATION                UNSECURED          22,505.41              *             12,318.21
   0019     VERIZON                                      UNSECURED              98.07              *                 50.66
   0020     DEPARTMENT STORES NATIONAL BANK              UNSECURED             156.34              *                 80.77

                                                                                                                       Total Paid: $39,989.18
                                                                                                                                 See Summary

                                                              SUMMARY
 Summary of all receipts and disbursements from the date the case was filed , to and including: January 14, 2022.

 Receipts: $40,700.00              -   Paid to Claims: $37,635.24       -   Admin Costs Paid: $2,353.94    =   Funds on Hand: $710.82




**NOTE: THIS REPORT IS NOT TO BE USED AS A PAYOFF FIGURE. ADDITIONAL ALLOWED CLAIMS AND OTHER
        VARIABLES MAY AFFECT THE AMOUNT TO COMPLETE THE PLAN.




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